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1    LAWRENCE G. BROWN
     United States Attorney
2    MICHAEL M. BECKWITH
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2797
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7
8                IN THE UNITED STATES DISTRICT COURT FOR THE
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )    CR. S-08-0392-GEB
12              Plaintiff,             )
                                       )   STIPULATION AND [PROPOSED] ORDER
13                                     )   CONTINUING STATUS CONFERENCE AND
          v.                           )   EXCLUDING TIME
14                                     )
     JORGE ALBERT REYES, et al.,       )
15                                     )
                Defendants.            )    Hon. Garland E. Burrell
16                                     )
17
18        The parties request that the status conference currently set
19   for August 14, 2009, be continued to September 18, 2009, and
20   stipulate that the time beginning August 14, 2009, and extending
21   through September 18, 2009, should be excluded from the
22   calculation of time under the Speedy Trial Act.         The parties
23   submit that the ends of justice are served by the Court excluding
24   such time, so that counsel for each defendant may have reasonable
25   time necessary for effective preparation, taking into account the
26   exercise of due diligence.     18 U.S.C. § 3161(h)(8)(B)(iv); Local
27   Code T4.
28        The parties are in the process of discussing and negotiating

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1    the various plea offers in this case.       Each defendant will need
2    time to consider his or her offer in light of the discovery.           As
3    such, the attorneys for each defendant need more time to review
4    the discovery in this case, discuss that discovery with their
5    respective clients, consider new evidence that may affect the
6    disposition of this case, conduct necessary legal research and
7    investigation, and then discuss with their clients how to
8    proceed.   The parties stipulate and agree that the interests of
9    justice served by granting this continuance outweigh the best
10   interests of the public and the defendants in a speedy trial.           18
11   U.S.C. § 3161(h)(8)(A).
12                                           Respectfully Submitted,
13                                           LAWRENCE G. BROWN
                                             United States Attorney
14
15   Dated: August 12, 2009              By:/s/ Michael M. Beckwith
                                            MICHAEL M. BECKWITH
16                                          Assistant U.S. Attorney
17
     Dated: August 12, 2009              By:/s/ Matthew C. Bockmon
18                                          MATTHEW C. BOCKMON
                                            Attorney for defendant
19                                          Adam Pablo Reyes
20
     Dated: August 12, 2009              By:/s/ Michael A. Brush
21                                          MICHAEL A. BRUSH
                                            Attorney for defendant
22                                          Juan Gabriel Alvarez
23
     Dated: August 12, 2009              By:/s/ Clarence Emmett Mahle
24                                          CLARENCE EMMETT MAHLE
                                            Attorney for defendant
25                                          Juan Abarca-Catalan
26
     Dated: August 12, 2009              By:/s/ Steven D. Bauer
27                                          STEVEN D. BAUER
                                            Attorney for defendant
28                                          Keoudone Noy Phaouthoum

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1
     Dated: August 12, 2009              By:/s/ Carl E. Larson
2                                           CARL E. LARSON
                                            Attorney for defendant
3                                           Khamsou Sida
4
     Dated: August 12, 2009              By:/s/ Evans D. Prieston
5                                           EVANS D. PRIESTON
                                            Attorney for defendant
6                                           Victor Alfonso Ceja
7    Dated: August 12, 2009              By:/s/ Danny D. Brace, Jr.
                                            DANNY D. BRACE, JR.
8                                           Attorney for defendant
                                            Ruben Anthony Olsen
9
     Dated: August 12, 2009              By:/s/ Scott L. Tedmon
10                                          SCOTT L. TEDMON
                                            Attorney for defendant
11                                          Majid Bajmanlo
12   Dated: August 12, 2009              By:/s/ Julie H. Raridan
                                            JULIE H. RARIDAN
13                                          Attorney for defendant
                                            Juan Madrigal Rizo
14
     Dated: August 12, 2009              By:/s/ William E. Bonham
15                                          WILLIAM E. BONHAM
                                            Attorney for defendant
16                                          Thomas Jesse Garcia
17
     Dated: August 12, 2009              By:/s/ Daniel M. Davis
18                                          DANIEL M. DAVIS
                                            Attorney for defendant
19                                          Ashley Rhymer
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1                                         ORDER
2          For the reasons stated above, the status conference in case
3    number CR. S-08-0392-GEB, currently set for August 14, 2009, is
4    continued to September 18, 2009; and the time beginning August
5    14,   2009, and extending through September 18, 2009, is excluded
6    from the calculation of time under the Speedy Trial Act for
7    effective defense preparation.         The Court finds that interests of
8    justice served by granting this continuance outweigh the best
9    interests of the public and the defendants in a speedy trial.             18
10   U.S.C. § 3161(h)(8)(A) and (B)(iv).
11
12   IT IS SO ORDERED.
13   Dated:     August 18, 2009
14
15                                     GARLAND E. BURRELL, JR.
16                                     United States District Judge

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